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                              IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT

        UNITED STATES OF AMERICA                       )
                                                       )
                                                       )
               v.                                      )       CASE NO. 07-4059(L)
                                                       )
        PAULETTE MARTIN ET AL.                                 )


                          UNITED STATES OF AMERICA’S OPPOSITION TO
                      DEFENDANT’S MOTION FOR TEMPORARY STAYOF APPEAL

               The United States of America, by and through its attorneys, Rod J. Rosenstein, United States

        Attorney for the District of Maryland, and Deborah A. Johnston, Assistant United States Attorneys

        for said district, and in opposition to the appellants’ motion for temporary stay of appeal, states as

        follows:

               1.      Pursuant to a federal indictment, the appellants were arrested on or about June 1,

        2004. Appellants, Goodwin, Martin, Bynum, and Dobie have been incarcerated since their arrest.

        Appellant Ali has been incarcerated since her conviction on August 31. 2006. On June 6, 2006, the

        appellants were tried on a 62 Count indictment, alleging violations of the controlled substances Act

        and related firearms charges. The trial lasted approximately 10 weeks. On August 31, 2006 the

        appellants were convicted of various drug trafficking offenses. On December 19, 2006, the

        appellants were sentenced to lengthy terms of imprisonment. Each appellant timely noted his or

        her appeal.

               2.      These consolidated appeals have been pending since January 2007. While some of

        the delay is attributable to the court reporter, the first briefing order was issued on June 19, 2009.

        Since that time the appellants have received various extensions to file their brief.


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                3.      On April 15, 2010, the appellants filed a motion to stay the appeal pending resolution

        of a motion to dismiss forfeiture orders which was filed in the district court on April 15, 2009. The

        motion which was filed, approximately three years after the orders were entered , seeks to dismiss

        forfeiture orders filed on January 19, 2007 and June 14, 2007 and from which no appeal was noted.

        The validity of the forfeiture orders is an isolated issue which is unrelated to the issues arising from

        the appellants’ trial and sentencing. As a result, there is simply no benefit in staying the appeal until

        the tardy motion to dismiss is resolved.

                4.      The appellants will not be prejudiced if this court proceeds with the direct appeal.

        To the contrary, based upon the pro se pleadings, at least one of the appellants has voiced an

        objection to delays of which have occurred in this matter.

                Given counsel’s tardiness in filing the dismissal motion the district court, the lack of any

        direct correlation to the pending appeal and the age of this appeal, the government respectfully

        requests this court to deny the motion for stay of appeal and to reinstate the briefing order.

                                                        Respectfully submitted,

                                                        Rod J. Rosenstein
                                                        United States Attorney




                                                   By:_________/s/_______________
                                                        Deborah A. Johnston
                                                        Assistant United States Attorney
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                                         CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on April 16, 2010, I electronically filed the foregoing with the

        Clerk of Court using the CM/ECF System, which will send notice of such filing to the attorneys of

        record.


                                                     ________/s/________________________
                                                     Deborah A. Johnston
                                                     Assistant United States Attorney




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